
16 Mich. App. 671 (1969)
168 N.W.2d 630
PEOPLE
v.
HAIST
Docket No. 4,280.
Michigan Court of Appeals.
Decided March 28, 1969.
Edward Read Barton, for defendant on appeal.
BEFORE: McGREGOR, P.J., and R.B. BURNS and DANHOF, JJ.
PER CURIAM:
Defendant pled guilty to breaking and entering with intent to commit larceny, CL *672 1948, § 750.110 as amended by PA 1964, No 133 (Stat Ann 1968 Cum Supp § 28.305), and on appeal contends that the manner in which the lower court accepted his plea effectively denied him his right to counsel. The record discloses that the court did not advise defendant of his constitutional right to court-appointed counsel, either before pleading or at his sentencing. GCR 1963, 785.3(1). Without recorded evidence of defendant's knowledge of his right to appointed counsel, we cannot conclude he knowingly waived it.
Conviction reversed and remanded for a new trial.
